               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          STATESVILLE DIVISION

 UNITED STATES OF AMERICA,

               Plaintiff,

 vs.                                           DOCKET NO. 5:23-CR-38-KDB

                                               MOTION TO SUPPRESS
 JAVARIO DEVON ROBINSON,                       EVIDENCE AND MEMORANDUM
                                               OF LAW
               Defendant.



        Javario Robinson, through counsel, Assistant Federal Public Defender Rhett

H. Johnson, moves this Court, pursuant to Rule 12 of the Federal Rules of Criminal

Procedure and the Fourth Amendment to the United States Constitution, to suppress

all evidence obtained as a result of the search of his home on April 6, 2023. Should

this Court not summarily grant this motion on the pleadings, Robinson moves this

Court to conduct a Franks hearing in this matter.

I.      GROUNDS FOR SUPPRESSSION

        a.    The search warrant in this matter is facially invalid as it fails to

              establish probable cause and the necessary nexus between criminal

              activity and the place to be searched.

        b.    The search conducted pursuant to the search warrant was unreasonable

              because the search warrant contains materially false statements and

              omissions in violation of Franks v. Delaware, 438 U.S. 154 (1978).



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II.    FACTUAL BACKGROUND 1

       a.    Response to 911 Call

       In the early afternoon of April 26, 2023, several Hickory Police Department

officers responded to a 911 call about shots fired near 430 Center Street, Hickory,

North Carolina. Officer Carter and Officer Adkins were the first to arrive on the

scene. There they encountered Javario Robinson lying on the walkway in front of his

home with a gunshot wound to his leg.




                    Screenshot from Officer Adkins BWC Footage




1 The facts set forth herein are based on the body-worn camera (“BWC”) footage

provided in discovery. The BWC footage is relatively voluminous due to the number
of uniformed officers involved. Because the instant motion is a facial challenge to the
search warrant along with a narrow Franks challenge, the factual background is
meant to provide facts germane to those purposes along with contextual background
information.
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       They both provided medical aid to Robinson. While Officer Carter applied a

tourniquet band to Robinson’s leg, Officer Adkins radioed for EMT assistance and

confirmed that the “scene is secure.” See Exhibit 1 (Officer Adkins BWC at 3:34:39

p.m. (2:08)). 2 When asked about the assailant, Robinson advised that he was struck

by a stray bullet and was unable to provide any additional details except that in the

moments leading up to being shot, there were several people arguing at a nearby

apartment complex. EMT personnel soon arrived and began administering medical

care to Robinson before he left in an ambulance. See Exhibit 1 (Officer Adkins BWC

at 3:49:10 p.m. (16:39) (ambulance leaving scene)).

       The only other two people consistently present outside Robinson’s home

throughout the encounter was his father, Arthur Robinson, and an acquaintance, who

advised her name was Caroline Corpening. 3       Arthur Robinson echoed Javario’s

account of what happened. He told officers that he and Javario were sitting on the

front porch before Javario stepped out onto the front walkway and was immediately

struck by a bullet. Neither Javario Robinson nor his father were able to provide a

description of the shooter. 4




2 The timestamps for the BWC footage referenced herein reflect both the real time in

standard time format and the minute/second mark of the attached video file,
respectively.
3 Officers later determined this was not her actual name.
4 Hours later, after the search warrant was executed, and while still in the hospital,

Javario Robinson confessed that he had accidentally shot himself.
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      b.     Protective Sweep

      At around 3:47 p.m., approximately 14 minutes after officers first arrived,

Lieutenant Miller and Officer Carter discussed searching the home. Lieutenant

Miller advised Officer Carter, “I’m not so sure that the gun is not in there [Robinson’s

home] and the female is involved….” See Exhibit 2 (Officer Carter BWC at 3:47:49

p.m. (14:38)). Officer Carter then asked Lieutenant Miller, “For officer safety, am I

allowed to search the house?” See Exhibit 2 (Officer Carter BWC at 3:48:09 p.m.

(14:58)). Lieutenant Miller agreed that they should search the house. The officers

moved towards the front porch of the home where Arthur Robinson was sitting by the

front door. Lieutenant Miller advised Arthur Robinson that “we need to go in the

residence just to see if that bullet traveled through, or if there is anybody else in there

hurt.” See Exhibit 1 (Officer Adkins BWC at 3:49:56 p.m. (17:24)). Arthur Robinson

told her that the door was locked and he did not have the key. For the next several

minutes, Lt. Miller continued to discuss the matter with Arthur Robinson. See

Exhibit 3 (Lieutenant Miller BWC 3:50:10 p.m. (15:00)).

      Around this time, investigators from the Criminal Investigations Division

(“CID”) arrived on the scene where several officers briefed them on the situation. See

Exhibit 1 (Officer Adkins BWC at 3:54:45 p.m. (22:13)). Lieutenant Miller advised

the other officers that “we need in that house cause I’m thinking the gun is in that

house….” See Exhibit 1 (Officer Adkins BWC at 3:58:40 p.m. (26:09)). Around 4:00

p.m.—approximately 27 minutes after officers first arrived on the scene—CID

Investigator Helderman approached Arthur Robinson on the front porch and told him


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the police were required to sweep the house to verify no one else is injured inside. See

Exhibit 1 (Adkins BWC at 4:00:18 p.m. (27:47)). Arthur Robinson maintained that

he did not have a key and no one else was present inside the house. A couple minutes

later, the officers kicked in the front and conducted what they claimed to be a “safety

sweep” of the residence. Towards the end of the sweep, Officer Adkins remarked, “I

didn’t see a firearm anywhere.” See Exhibit 1 (Officer Adkins BWC at 4:07:23 p.m.

(34:52)).

       c.    Search Warrant Execution

       Shortly after the officers completed their protective sweep of the home, at

around 4:38 p.m., Investigator T. Johnson applied for a search warrant to search the

entire premises of 430 Center Street. See Exhibit 4 (Search Warrant). The officers

searched the home and uncovered the firearms that are the subject of the instant

indictment. In pertinent part, Investigator T. Johnson swore under oath that “[w]hen

Officer [sic] attempted to secure the residence, Robinson’s father who is heavily

intoxicated slammed and locked the door.” See Exhibit 4 (Search Warrant). However,

from a review of the comprehensive BWC footage, it is clear that no officer observed

Robinson’s father slam or lock a door to the home. The door was closed when they

first arrived, and it remained closed until the officers forced entry to perform a

protective sweep.




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III.    LEGAL STANDARD

        a.    Search Warrants Must Be Supported by Probable Cause

        A search warrant may only be issued upon a showing that probable cause

 exists to search the described location. See U.S. Const. amend. IV (“[N]o Warrants

 shall issue, but upon probable cause, supported by Oath or affirmation, and

 particularly describing the place to be searched, and the persons or things to be

 seized.”). In reviewing the probable cause determination by a judicial officer, “the

 task of the reviewing court is not to conduct a de novo determination of probable

 cause, but only to determine whether there is substantial evidence in the record

 supporting the magistrate’s decision to issue the warrant.” Massachusetts v. Upton,

 466 U.S. 727, 728 (1984). As such, “when reviewing the probable cause supporting

 a warrant, a reviewing court must consider only the information presented to the

 magistrate who issues the warrant.” United States v. Wilhelm, 80 F.3d 116, 118

 (4th Cir. 1996); see also United States v. Bosyk, 933 F.3d 319, 325 (4th Cir. 2019)

 (“[W]e consider only the facts presented in the warrant application.”).

        “Probable cause” to search is described as “a fair probability that contraband

 or evidence of a crime will be found in a particular place.” Illinois v. Gates, 462 U.S.

 213, 238 (1983). “[T]o establish probable cause, the facts presented to the magistrate

 need only ‘warrant a man of reasonable caution’ to believe that evidence of a crime

 will be found.” United States v. Williams, 972 F.2d 480, 481 (4th Cir. 1992) (per

 curiam) (quoting Texas v. Brown, 460 U.S. 730, 742 (1983) (plurality opinion)); see

 also Ornelas v. United States, 517 U.S. 690, 696 (1996). “In determining whether


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 a search warrant is supported by probable cause, the crucial element is not

 whether the target of the search is suspected of a crime, but whether it is reasonable

 to believe that the items to be seized will be found in the place to be searched.” United

 States v. Lalor, 996 F.2d 1578, 1582 (4th Cir. 1993).

      To meet this standard, the affidavit supporting the application for a search

 warrant must demonstrate the existence of a “nexus between the place to be

 searched and the items to be seized.” United States v. Anderson, 851 F.2d 727, 729

 (4th Cir. 1988). This nexus can be established by the nature of the item and the

 normal inferences of where a person would keep such evidence. Id.

      b.     Franks v. Delaware

      Search warrant applications must be made in good faith and be supported by

truthful information. In Franks, the Supreme Court held that the accused is entitled

to an evidentiary hearing on the veracity of statements in the search warrant

affidavit upon a showing that that the affidavit contains intentional or reckless

falsehoods. 438 U.S. at 155-56. To obtain a Franks hearing, “a defendant must make

a substantial preliminary showing that (1) law enforcement made a false statement;

(2) the false statement was made knowingly and intentionally, or with reckless

disregard for the truth; and (3) the false statement was necessary to the finding of

probable cause.” United States v. Moody, 931 F.3d 366, 370 (4th Cir. 2019) (citation

omitted). With respect to the final prong, if the Court finds the search warrant was

based in part on the false statement, the Court must excise the false statement from




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the affidavit and assess whether the remaining facts support a finding of probable

cause. Id. at. 371.

       The Fourth Circuit addressed when a Franks hearing is required based on the

theory that the officer’s affidavit “omit[ted] material facts with the intent to make, or

in reckless disregard of whether they thereby made, the affidavit misleading.” United

States v. Colkley, 899 F.2d 297, 300 (4th Cir. 1990) (citing United States v. Reivich,

793 F.2d 957, 961 (8th Cir.1986)). Under Colkley, the defendant must show (1) that

the officer deliberately or recklessly omitted the information at issue and (2) that the

inclusion of this information would have defeated probable cause. See 899 F.2d at

301. The doctrine applies to both false statements and omissions. Id. at 300 (internal

citations omitted). And, the Franks test applies “when affiants omit material facts

‘with the intent to make, or in reckless disregard of whether they thereby made, the

affidavit misleading.’” Colkley, 899 F.2d at 300 (quoting United States v. Reivich, 793

F.2d 957, 961 (8th Cir. 1986)).

IV.    ARGUMENT

       a.    The search warrant is facially defective because the supporting
             affidavit failed to describe sufficient facts to support a probable
             cause determination that evidence of a shooting would likely be
             found in Robinson’s home

       In this matter there is a wholly insufficient nexus between any criminal

activity and the home to be searched. In evaluating whether the issuing magistrate

had a “substantial basis” for finding probable cause that evidence of a shooting would

be found in Robinson’s home, the Court “may not go beyond the information actually



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presented to the magistrate during the warrant application process.” United States

v. Lyles, 910 F.3d 787, 791 (4th Cir. 2018) (cleaned up).

      The search warrant affidavit in for Robinson’s home is structured as follows:

             1.     The first paragraph describes the affiant’s background and
                    experience.

             2.     The second paragraph provides that the Hickory Police
                    Department received a call for service in reference to a male with
                    a single gunshot wound to the leg at 430 S Center St, Hickory,
                    North Carolina.

             3.     The third paragraph falsely states that “When Officer [sic]
                    attempted to secure the residence, Robinson’s father who is
                    heavily intoxicated slammed and locked the door.” It correctly
                    states that the officers on scene forced entry to secure the
                    residence.

             4.     The fourth paragraph mentions that a neighbor had advised
                    officers that “she heard yelling and arguing coming from 430 S
                    Center St and then heard one gunshot.”

             5.     The fifth paragraph states that “Javario Robinson has been
                    charged several times for narcotics in the past and through my
                    training and experience, drug user[sic] and dealer [sic] keep
                    narcotics at their home.”

             6.     The sixth paragraph states that the “Affiant believes that the
                    above facts provide probable cause to believe that evidence of
                    shooting may be inside the residence as well as a firearm
                    involved.”

See Exhibit 4 (Search Warrant).

      As an initial matter, the only assertion that supports the conclusion that a

crime had been committed was the fact that Javario Robinson had been shot and was

lying in front of his house located at 430 S. Center Street. But this alone, without

more, does not give rise to an inference that the shooter or weapon responsible for the

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shooting would be found inside the house. There is no information in the search

affidavit about a suspected shooter or weapon whatsoever. Moreover, there is no

information contained on the face of the warrant to support an inference that the

shooting occurred inside the home. As discussed above, Robinson’s father did not

slam the door in the officer’s presence. But assuming arguendo that he did, this too,

without more, hardly supports an inference that evidence of the shooting would be

located inside the home. Every American enjoys the right to keep the government

out of their home as emphatically as they please, so long as they do not threaten nor

harm another in the process. And while slamming a door could arguably be viewed

as scant evidence of suspicious behavior or an attempt to conceal evidence, this

belligerent behavior (that did not occur) could also be attributed to his “heavily

intoxicated” state.

      Likewise, that Javario Robinson had been charged (not convicted) with

narcotics in the unspecified past likewise does little to move the needle towards the

conclusion that evidence of the shooting may be found inside the home. “A valid

search warrant may issue only upon allegations of facts so closely related to the time

of the issue of the warrant as to justify a finding of probable cause at that time.”

United States v. Doyle, 650 F.3d 460, 474 (4th Cir. 2011) (quoting United States v.

McCall, 740 F.2d 1331, 1335-36 (4th Cir. 1984)) (emphasis in original). Here, the

claim related to prior narcotics charges lack temporal relevance given that it does not

say when he was alleged to be involved with narcotics. And to the extent there is any

qualitative relevance between Robinson’s past involvement with drugs and the


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instant shooting, this would seem to point away from his home, not towards it. An

assailant in a drug-related shooting is unlikely to shoot someone outside and then

take cover in the victim’s own home.

      b.     The Affidavit in Support of the Search Warrant Contained
             Material Misstatements of Fact and Made Material Omissions in
             violation of Franks

      In her affidavit, Investigator T. Johnson falsely states that, “When Officer [sic]

attempted to secure the residence, Robinson’s father who is heavily intoxicated

slammed and locked the door.” See Exhibit 4 (Search Warrant).

      Undersigned counsel has reviewed the BWC footage provided in discovery.

Collectively this footage continuously captures the entire encounter between the

responding officers, Javario Robinson, his father, and the front porch area of the home

from the time the officers first arrived through the execution of the search warrant.

At no point is Robinson’s father seen slamming or locking any door. The front door

is closed when the officers arrived, and it remained closed until an officer kicked it in

to perform the protective sweep. The BWC footage makes clear that Investigator

Johnson’s statement was false. Accordingly, Robinson is entitled to a Franks hearing.

      Once this erroneous fact is stripped away from the affidavit, all that is left in

support of a criminal act involving a firearm is the fact that Javario Robinson was

shot in front of his home. This does not give rise to a fair probability that evidence of

the shooting will be located inside Robinson’s home.

      What’s more, the warrant affidavit omitted material facts. The warrant

accurately stated that “officers forced entry” into the home. However, the affidavit


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omitted the fact that the officers entered and conducted a sweep of the home to search

for a firearm. It also omitted that the search was unsuccessful, with Officer Adkins

remarking, “I didn’t see a firearm anywhere.” See Exhibit 1 (Officer Adkins BWC at

4:07:23 p.m. (34:52). That officers entered the home, looked inside every room and

were unable to locate a firearm or any other evidence related to the shooting was

material to the magistrate’s determination of probable cause.

V.    CONCLUSION

     “[C]ourts must . . . insist that the magistrate purport to ‘perform his neutral

and detached function and not serve merely as a rubber stamp for the police.’” United

States v. Leon, 468 U.S. 897, 914 (1984) (quoting Aguilar v. Texas, 378 U.S. 108, 111

(1964)). Where there is no probable cause to justify the issuance of a search

warrant, all subsequently obtained evidence, either tangible or testimonial,

obtained as a direct result of an illegal search should be excluded as fruit of the

poisonous tree. See Utah v. Strieff, 592 U.S. 232, 237 (2016); Murray v. United States,

487 U.S. 533, 536-537 (1988).

     Here, the complete lack of a nexus between the criminal evidence sought and

the place to be searched renders any reliance on the search warrant as unreasonable.

Investigator Johnson’s materially false statement that Robinson’s father slammed

and locked the door was seemingly made entirely out of whole cloth and its inclusion

is the only “fact” that supports an inference that there is something of evidentiary

value inside the house. After excising this fact and reviewing what is left, there is

little more than Javario Robinson, who has prior drug charges in the unspecified


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past, lying in the walkway in front of his home with a gunshot wound to the leg. And

her omission of the fact that the officers looked inside every room of the home and

uncovered no additional evidence of criminal activity just minutes before seeking

the search warrant further undermines the validity of the warrant.

       For these reasons, the defendant respectfully moves this Court to suppress

 all evidence obtained as a result of the search of 430 Center Street, Hickory, North

 Carolina on April 6, 2023.

      Dated: February 2, 2024                 Respectfully Submitted,

                                              s/Rhett H. Johnson
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